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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

SHANON S. RILEY,
                       Plaintiff,
v.                                                             Case 1:25-cv-00044-KWR-KK
HEATHER JORDAN, in her individual
and official capacities as the Director
of the New Mexico Workers’
Compensation Administration,
                       Defendant.
     DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                      PRELIMINARY INJUNCTION

       Defendant Heather Jordan, in her individual and official capacities, respectfully submits

this Response in Opposition to Plaintiff’s Motion for Preliminary Injunction. Plaintiff’s motion

should be denied because she cannot meet the stringent standard for obtaining the extraordinary

relief of a preliminary injunction. Plaintiff was terminated for legitimate reasons after knowingly

engaging in conduct that created an appearance of impropriety—conduct that was directly contrary

to the ethical obligations of her position. Her claims fail both legally and factually, and she has not

demonstrated any irreparable harm requiring immediate judicial intervention.

                               Introduction & Factual Background

       As set forth in plaintiff’s Motion for Preliminary Injunction (Doc. 2, filed 1/14/2025)

(“Motion”), plaintiff served as a Workers’ Compensation Judge until she was terminated from her

employment after she claimed voting leave to vote in the November 5, 2024 election, but did not

vote. Rather than correct this error, plaintiff instead certified that her use of voting leave was true

and accurate, until such time as it was discovered by Defendant. Plaintiff’s employment was

terminated as a result of this violation of the Code of Judicial Conduct.
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          Plaintiff now claims that pursuant to the New Mexico Administrative Code, 1.7.12.25, she

was due additional process before her termination. See Doc. 2, generally. However, this complaint

has been mooted by the fact that on February 4, 2025, the Workers’ Compensation Administration

(“WCA”) served, via hand delivery and certified mail, a complaint to the State Personnel Board

regarding the basis for plaintiff’s termination, in accordance with NMSA 1978, § 52-5-2(C). See

Complaint Pursuant to NMSA 1978, 52-5-2(C) RE: Shanon Riley , attached hereto as Exhibit A.

Plaintiff has also been reinstated to her former position and placed on paid administrative leave

pending the State Personnel Board proceedings. See Letter of Reinstatement, attached hereto as

Exhibit B. Accordingly, plaintiff will receive all the process she claims she is due. Because

Defendant has voluntarily addressed each of the concerns identified in plaintiff’s request for

injunctive relief, plaintiff’s request is moot.1 In addition, plaintiff cannot establish any of the

remaining elements that would entitle her to injunctive relief. Finally, this Court should abstain

from wading into a pending state administrative proceeding in accordance with Younger abstention

principles. Accordingly, plaintiff’s Motion should be denied.

                                     Argument & Authorities

          A. Plaintiff’s claim for injunctive relief is moot

           The Court lacks subject matter jurisdiction over a moot case. Unified Sch. Dist. No. 259

    v. Disability Rights Ctr. Of Kan., 491 F.3d 1143, 1146-47 (10th Cir. 2007). “Mootness is a



1
 In undertaking these actions, Defendant in no way concedes that the initial termination of plaintiff
without first following this specific procedure—which is designed for handling complaints from
members of the public—was improper. See Roberts v. Winder, 16 F.4th 1367, 1380 (10th Cir.
2021) (finding no procedural due process violation when employer informed employee his rank
and pay would be reduced and subsequently sent letter to employee’s counsel rejecting his
grievance and explaining termination); West v. Grand Cnty., 967 F.2d 362, 368 (10th Cir. 1992)
(“A brief face-to-face meeting with a supervisor provides sufficient notice and opportunity to
respond to satisfy the pretermination due process requirements of Loudermill.”). Rather, this was
simply done out of an abundance of caution.
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 threshold issue because the existence of a live case or controversy is a constitutional prerequisite

 to federal court jurisdiction.” Disability Law Ctr. v. Millcreek Health Ctr., 428 F.3d 992, 996

 (10th Cir. 2005) (internal quotation marks and citation omitted). This is true of actions for

 declaratory and injunctive relief. Unified Sch. Dist. No. 259, 491 F.3d at 1147. “The crucial

 question is whether granting a present determination of the issues offered will have some effect

 in the real world.” Wyoming v. U.S. Dep’t. of Agric., 414 F.3d 1174, 1182 (10th Cir. 2000).

        The WCA’s actions in filing a complaint with the State Personnel Board and reinstating

 plaintiff to her former position have mooted plaintiff’s current complaints regarding due process.

 “[A]llegations of legal wrongdoing must be grounded in a concrete and particularized factual

 context; they are not subject to review as free-floating, ethereal grievances.” Rio Grande Silvery

 Minnow v. Bureau of Reclamation, 601 F.3d 1096, 1111 (10th Cir. 2010). Because she has been

 reinstated and will be given all of the process requested in her Motion, plaintiff can no longer

 point to “some concrete and ongoing injury.” Id. at 1112. Plaintiff raises no additional concerns

 beyond wanting the process that the WCA has now provided. The WCA’s subsequent actions

 places the parties in the same situation as those addressed by the Tenth Circuit in Rio Grande

 Silvery Minnow: “[W]e are not situated to issue a present determination with real-world effect

 because those regulations no longer are operational-for all material purposes, they no longer

 exist.” Id. at 1113 (emphasis in original).

       None of the exceptions to the mootness doctrine are applicable to this case. The first

recognized exception to mootness is for disputes capable of repetition yet evading review, which

occur when “(1) the challenged action is in its duration too short to be fully litigated prior to

cessation or expiration, and (2) there is a reasonable expectation that the same complaining party

will be subject to the same action again.” Brown v. Buhman, 822 F.3d 1151, 1166 (10th Cir. 2016)

(internal quotation marks and citation omitted). The second recognized exception is for cases in

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which the defendant voluntarily ceases the challenged conduct. See N.M. Health Connections,

946 F.3d at 1159. The purpose behind this exception is to counteract gamesmanship aimed at

mooting a case before resuming the illegal conduct. Id. Thus, the exception does not apply if it is

“absolutely clear the allegedly wrongful behavior could not reasonably be expected to recur.” Id.

(internal quotation marks and citation omitted). In this vein, “although governmental defendants

might take action as a direct response to litigation, . . . self-correction again provides a secure

foundation for mootness so long as it seems genuine.” Rio Grande Silvery Minnow, 601 F.3d at

1118 (quoting 13C Charles Alan Wright, Arthur R. Miller, & Edward H. Cooper, Fed. Prac. &

Proc. Juris. § 3533.7 (3rd ed. 2008)).

       Here, there is no reasonable expectation that the WCA will not proceed in accordance

with the applicable NMAC provisions regarding the State Personnel Board proceeding. See Rio

Grande Silvery Minnow, 601 F.3d at 1116 n.15 (“[I]n a mootness analysis courts must undertake

to make predictions, including as to the probability of recurrence, and that the process of

prediction also is shaped by the character of the defendant—claims of discontinuance by public

officials are more apt to be trusted than like claims by private defendants[.]” (internal quotation

marks and citation omitted)). Accordingly, this Court should deny plaintiffs’ requests for

preliminary injunctive relief as moot. See Valdez v. Lujan Grisham, 2024 WL 2319752, at *3

(10th Cir. May 22, 2024) (finding case moot when the plaintiff could not be subject to a

challenged vaccine requirement that has been rescinded and there is no evidence that it would be

reimposed (citing Robert v. Austin, 72 F.4th 1160, 1164-65 (10th Cir. 2023)); S. Wind Women’s

Ctr. LLC v. Stitt, 823 Fed. Appx. 677, 680 (10th Cir. 2020) (concluding that an appeal from a

preliminary injunction enjoining Oklahoma from enforcing parts of an executive order as it

related to abortions was moot because the order’s abortion restrictions expired shortly after the



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district court granted the preliminary injunction and “Oklahoma no longer seeks to do what the

injunction prohibits”).2

       B. The Court should abstain from addressing plaintiff’s claims under the Younger
          abstention doctrine

       Under the Younger abstention doctrine, “federal courts should not interfere with state court

proceedings' by granting equitable relief—such as injunctions of important state proceedings or

declaratory judgments regarding constitutional issues in those proceedings—when the state forum

provides an adequate avenue for relief.” ETP Rio Rancho Park, LLC v. Lujan Grisham, 522 F.

Supp. 3d 966, 1007 (D.N.M. 2021); Weitzel v. Div. of Occupational & Prof’l Licensing, 240 F.3d

871, 875 (10th Cir. 2001). A federal court must abstain when: (1) there is an ongoing state

administrative proceeding; (2) the state provides an adequate forum to hear the claims; and (3) the

proceeding involves important state interests. See Seneca-Cayuga Tribe v. Oklahoma, 874 F.2d

709, 711 (10th Cir. 1989).

       All three conditions are met here. First, plaintiff’s disciplinary proceeding has been

submitted to the New Mexico State Personnel Board, which is reviewing the matter pursuant to

NMSA 1978, § 52-5-2(C) (2004), and New Mexico Administrative Code, 1.7.12.25. Disciplinary

proceedings qualify for Younger deference. See Middlesex Cnty. Ethics Comm. v. Garden State

Bar Ass’n, 457 U.S. 423 (1982) (applying Younger abstention to state bar disciplinary

proceedings). That this process began after Plaintiff filed the instant action is of no moment. See




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  That Defendant does not concede that the initial termination of plaintiff without going through
this process was improper is of no moment. See Brown, 822 F.3d at 1177 (“But if the allegedly
unlawful conduct cannot ‘reasonably be expected to recur,’ it does not matter that the prosecutor
ruled out prosecution because he wished to prevent adjudication of the federal claim on the merits.
Either a live controversy exists, or it does not. Federal courts may not exercise jurisdiction over a
case simply because the defendant wished the suit to end when ceasing his or her allegedly
unlawful conduct.”).
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Hicks v. Miranda, 422 U.S. 332, 349 (1975) (holding that “the principles of Younger v. Harris

should apply in full force” where a state proceeding is instituted after the federal complaint is filed

“but before any proceedings of substance on the merits have taken place in the federal court”).

Accordingly, the first condition is met.

       The second condition (i.e., the state provides an adequate forum to hear the claims raised

in the federal complaint) is also met. The allegations that led to plaintiff’s termination have been

submitted to the State Personnel Board, which will initiate the hearing process by first submitting

the allegations to plaintiff and allowing her the opportunity to file an answer with a hearing officer.

1.7.12.25(D) NMAC. After the parties submit a proposed pre-hearing order containing a statement

of any contested facts and issues, stipulation of those matters not in dispute, the identity of all

witnesses to be called and a brief summary of their testimony, a list of exhibits, and requests for

subpoenas, the hearing officer will set the matter for a hearing. 1.7.12.25(E). The hearing is subject

to the rules of evidence that govern proceedings in state courts and is normally open to the public

in addition to being recorded. 1.7.12.25(G). Regulations expressly provide that the workers’

compensation judge “shall have the right and reasonable opportunity to defend against the charges

by the introduction of evidence, to be represented by counsel and to examine and cross-examine

witnesses.” Id. Following the hearing, the officer will submit to the parties a report with a brief

statement of the proceedings, a summary of the evidence, and findings with respect to the

allegations. 1.7.12.25(I). The parties then have an opportunity to file objections before the officer

submits his report and the record to the State Personnel Board, which will review report and record,

make findings as to whether there was a violation of the code of judicial conduct, and transmit its

findings to the director of the WCA to issue a final decision. 1.7.12.25(K).




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       This process will give plaintiff an adequate forum to raise the allegations at the heart of her

complaint: that she did not, in fact, violate the code of judicial conduct when she took voting leave

without actually voting and therefore she should not have been terminated. Accordingly, the second

condition is met. See, e.g., ETP Rio Rancho Park, 517 F. Supp. 3d at 1249 (finding regulations that

provide a “right to a notice, a hearing, discovery, witnesses, representation by counsel, records, a

written report, and final decision” adequate to give the plaintiff “an adequate opportunity to raise

the federal claims”); see also Spargo v. New York State Comm’n on Judicial Conduct, 351 F.3d 65,

77 (2d Cir. 2003) (finding that disciplinary proceedings against a judge provided an adequate

opportunity to raise federal claims).

       The third condition (i.e., that the state proceedings involve important state interests) is

likewise satisfied. It cannot be gainsaid that the State of New Mexico has an important interest in

maintaining the integrity of its judiciary. Thus, the issue of whether plaintiff should continue to

serve as a workers’ compensation judge and adjudicate claims after she apparently committed time

fraud is sufficiently important to warrant Younger abstention. Cf. Middlesex, 457 U.S. at 434 (“The

State of New Jersey has an extremely important interest in maintaining and assuring the

professional conduct of the attorneys it licenses.”); Spargo, 351 F.3d at 81 (finding Younger

abstention necessary for disciplinary proceedings against state judge); Weitzel, 240 F.3d at 876

(“[T]here is no question that the licensing and discipline of physicians involve important state

interests[.]” (cleaned up)); see generally Williams-Yulee v. Florida Bar, 575 U.S. 433, 445 (2015)

(“We have recognized the vital state interest in safeguarding public confidence in the fairness and




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integrity of the nation’s elected judges.” (cleaned up)). Since all three conditions are met, the Court

should (and must) abstain. See Seneca-Cayuga Tribe, 874 F.2d at 711.3

       C. Plaintiff cannot establish that she is entitled to preliminary injunctive relief

       “A preliminary injunction is an extraordinary remedy, the exception rather than the rule.”

Mrs. Fields Franchising, LLC v. MFGPC, 941 F.3d 1221, 1232 (10th Cir. 2019) (internal quotation

marks and citation omitted). To obtain preliminary injunctive relief, plaintiffs must show that “(1)

the moving party will suffer irreparable injury unless the injunction issues; (2) the threatened injury

to the moving party outweighs whatever damage the proposed injunction may cause the opposing

party; (3) the injunction, if issued, would not be adverse to the public interest; and (4) there is a

substantial likelihood that the moving party will eventually prevail on the merits.” Resolution Trust

Corp. v. Cruce, 972 F.2d 1195, 1198 (10th Cir. 1992). “The third and fourth factors ‘merge’ when,

like here, the government is the opposing party.” Aposhian v. Barr, 958 F.3d 969, 978 (10th Cir.

2020). Because preliminary injunctive relief is an “extraordinary remedy, . . . the right to relief

must be clear and unequivocal.” Nova Health Sys. v. Edmondson, 460 F.3d 1295, 1298 (10th Cir.

2006). The movant must satisfy his or her burden for each one of these prerequisites. See Diné

Citizens Against Ruining Our Env’t, 839 F.3d 1276, 1281-82 (10th Cir. 2016). Additionally, “any

preliminary injunction fitting within one of the disfavored categories [of preliminary



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  The only exceptions are “in cases of proven harassment or prosecutions undertaken by state
officials in bad faith without hope of obtaining a valid conviction and perhaps in other
extraordinary circumstances where irreparable injury can be shown.” Weitzel, 240 F.3d at 876. No
such circumstances are present here, as there is no evidence that Defendant’s initiation of the
procedure contemplated in Section 52-5-2(C) was taken to harass plaintiff or in bad faith. To the
contrary, Defendant initiated this process to address the very issues at the heart of plaintiff’s
complaint (i.e., an alleged lack of procedural due process). That plaintiff alleges constitutional
violations does not change this conclusion. See Gauntlett v. Cunningham, 171 Fed. Appx. 711,
715 n.3 (10th Cir. 2006) (declining to consider the allegation of due process violations as an
“extraordinary circumstance” warranting an exception to abstention).
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injunctions, such as the one in the instant case,] must be more closely scrutinized to assure that

the exigencies of the case support the granting of a remedy that is extraordinary even in the normal

course[,]” and “a party seeking such an injunction must make a strong showing both with regard

to the likelihood of success on the merits and with regard to the balance of harms[.]” O Centro

Espirita Beneficente Uniao do Vegetal (“O Centro”) v. Ashcroft, 389 F.3d 973, 975 (10th Cir.

2004); see Doc. 2 at 4 (admitting that plaintiff seeks a disfavored injunction).

       1. Plaintiff cannot demonstrate irreparable harm

       In the present case, the WCA has already acted to provide plaintiff with all of the process

she claims she is due pursuant to Section 52-5-2(C), and New Mexico Administrative Code,

1.7.12.25.4 Accordingly, she cannot establish that she will suffer any harm, much less irreparable

harm. See McKinney v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (“[A] procedural due process

violation is not complete ‘unless and until the State fails to provide due process.’ In other words,

the state may cure a procedural deprivation by providing a later procedural remedy; only when the

state refuses to provide a process sufficient to remedy the procedural deprivation does a

constitutional violation actionable under section 1983 arise.” (quoting Zinermon v. Burch, 494 U.S.

113, 126 (1990)).

       2. Plaintiff cannot demonstrate a likelihood of success on the merits

       Defendant disputes the merits of plaintiff’s procedural due process claim. See supra note

1. However, the Court need not address plaintiffs likelihood of succeeding on this issue since the



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  To the extent plaintiff may claim she is entitled to greater relief, such a claim goes beyond any
procedural protections afforded by New Mexico law, which does not prohibit putting plaintiff on
administrative leave pending the State Personnel Board’s hearing process, see § 52-5-2(C);
1.7.12.25 NMAC, or the constitution. See Hulen v. Yates, 322 F.3d 1229, 1248 (10th Cir. 2003)
(rejecting argument that tenured professor was entitled to formal hearing before being fired and
observing that “this circuit has required only the core of notice and an opportunity to be heard”).
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WCA has taken action that has mooted plaintiff’s requested injunctive relief and because plaintiff

will be given all the process that she has requested and is due. Plaintiff’s substantive due process

claim—which they do not even develop in their motion—likewise fails as a matter of law. See

Engquist v. Oregon Dept. of Agr., 553 U.S. 591, 599 (2008) “[T]he Due Process Clause does not

protect a public employee from discharge, even when such discharge was mistaken or

unreasonable.” (citing Bishop v. Wood, 426 U.S. 341, 350 (1976)). Instead, a public employee

with a property interest in continued employment has substantive due process right only from

termination for arbitrary or capricious reasons. See Curtis v. Okla. City Pub. Sch. Bd. of Educ.,

147 F.3d 1200, 1215 (10th Cir. 1998). This requires analysis of whether a governmental action is

arbitrary, irrational, or shocking to the contemporary conscience. Butler v. Rio Rancho Pub. Schs.

Bd. of Educ., 341 F.3d 1197, 1200-01 (10th Cir. 2003). Here, plaintiff claims that Defendant’s

determination that plaintiff’s use of voting leave when she did not vote, and then failure to correct

that action, constituted a violation of the Code of Judicial Conduct was arbitrary. See Doc. 1 at

Count II. However, even if plaintiff is correct that her actions did not violate the Code of Judicial

Conduct, Defendant’s decision is not one that “shock[s] the conscience of federal judges.” Collins

v. City of Harker Heights, 503 U.S. 115, 126. To satisfy this standard, “a plaintiff must do more

than show that the government actor intentionally or recklessly caused injury to the plaintiff by

abusing or misusing government power.” Uhlrig v. Harder, 64 F.3d 567, 574 (10th Cir. 1995).

Instead, a plaintiff “must demonstrate a degree of outrageousness and a magnitude of potential or

actual harm that is truly conscience shocking.” Id. “The level of conduct required to satisfy this

additional requirement cannot precisely be defined, but must necessarily evolve over time from

judgments as to the constitutionality of specific government conduct.” Id.              Defendant’s

determination that plaintiff’s actions violated the Code of Judicial Conduct simply do not meet this



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exacting standard. See Reams v. City of Frontenac, Kansas, 587 F. Supp. 3d 1082, 1100 (D. Kan.

2022) (explaining high bar of showing conscious shocking behavior in public employee

termination case).

                                           Conclusion

       For the foregoing reasons, Defendant respectfully requests that this Court deny plaintiff’s

Motion, and for such other and further relief as the Court deems appropriate.

                                              Respectfully submitted,



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                                 CERTIFICATE OF SERIVE

         I hereby certify that on this 6th day of February, 2025, I filed the foregoing through this
Court’s CM/ECF e-filing system and caused a true and correct copy of the same to be served upon
all parties of record as reflected more fully in the electronic Notification of Service.

                                              /s/ Cody R. Rogers___________
                                              Cody R. Rogers




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